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  September 13, 2024

  Honorable Michael A. Shipp, U.S.D.J.
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

  Honorable Rukhsanah L. Singh, U.S.M.J.
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

  Re:       Johnson & Johnson Talcum Powder Products, Marketing, Sales Practices and
            Products Liability Litigation
            Case No.: 3:16-md-02738-MAS-RLS

  Dear Judge Shipp and Judge Singh:

         I write in follow up to my letter of September 6 (ECF 33263) which was sent in
  response to the PSC’s letter of September 5 (Dkt. No. 33260), in which the PSC purports
  to select not one, but two cases (Judkins and Rausa) to be consolidated for the first
  bellwether trial in this MDL.

          I hesitate to file yet another motion given the workload before the Court in the run
  up to the December trial of this matter and therefore wanted to confirm whether the Court
  intends to entertain the PSC’s proposal to select two cases for the first trial
  notwithstanding Judge Wolfson’s prior ruling that this would be a single trial. If the Court
  is going to consider possibly departing from Judge Wolfson’s decision, we will go ahead
  and file a brief on the topic by the end of next week.




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  Hon. Michael A. Shipp, U.S.D.J.             -2-                         September 13, 2024
  Hon. Rukhsanah L. Singh,
  U.S.M.J.




         Thank you for your consideration of these matters.



  Respectfully submitted,



  Susan M. Sharko
  FAEGRE DRINKER BIDDLE & REATH
  LLP



  SMS/emf

  cc:    Leigh O’Dell and Michelle Parfitt (via email)
         All Counsel (via ECF)




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